Case 3:20-cv-00903-JAG Document 91 Filed 07/27/22 Page 1 of 5 PagelD# 1548

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Richmond Division

CYNTISHA STEWART, TERRY BROWN,
EDUARDO CANTIZZANO, LISA
HILL-GREEN, THERESA HILL, YOLANDA
JONES, MICHAEL CLARK, and
CHRISTOPHER PETERSON,

Plaintiffs,
V Civil Action No.: 3:20cv903-JAG

LEXISNEXIS RISK DATA RETRIEVAL
SERVICES LLC a/k/a LexisNexis Risk Data
Management and LEXISNEXIS RISK
SOLUTIONS INC.,

Defendants.

ORDER GRANTING
FINAL APPROVAL OF RULE 23(b)(3) SETTLEMENT

Plaintiffs submitted to the Court a Motion for Final Approval of Class Action Settlement
and for Attorneys’ Fees, Costs, and Class Representative Service Awards seeking final approval
of the Settlement Agreement and Release (the ‘““Agreement”), and the exhibits attached thereto,
entered into by and between Plaintiffs and Defendants.! (ECF Nos. 75, 80.) Defendants do not
oppose Plaintiffs’ Motion.

By Order dated February 25, 2022, this Court entered an Order that preliminarily approved
the Agreement and conditionally certified the Rule 23(b)(3) Settlement Class for settlement

purposes only (the “Preliminary Approval Order”). (ECF No. 70.) In compliance with the Class

' Plaintiffs filed a Motion for Final Approval of Rule 23(b)(3) Settlement and a Motion for
Final Approval of Rule 23(b)(2) Settlement. (ECF Nos. 78, 80.) The Rule 23(b)(2) and Rule
23(b)(3) Settlements are both encompassed in the single Settlement Agreement and Release, dated
January 20, 2022. (See ECF No. 57-1.)
Case 3:20-cv-00903-JAG Document 91 Filed 07/27/22 Page 2 of 5 PagelD# 1549

Action Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4, Defendants served written notice of
the proposed class settlement on the United States Attorney General and the appropriate state
Attorneys General. Due and adequate notice having been given to the Settlement Class in
compliance with the procedures set forth in the Agreement and the Preliminary Approval Order,
this Court having considered all papers filed and proceedings had herein, and otherwise being fully
informed of the premises and good cause appearing therefore, IT IS HEREBY ORDERED,
ADJUDGED, AND DECREED:

1. This Final Approval Order incorporates by reference the definitions in the
Agreement, and all terms used herein shall have the same meanings as set forth in the Agreement.

2. This Court has jurisdiction over the subject matter and, for purposes of this
Settlement only, personal jurisdiction over all the Parties, including all Rule 23(b)(3) Settlement
Class Members.

3. Pursuant to Federal Rule of Civil Procedure 23, and consistent with Due Process,
the Court finds that the settlement of the lawsuit, on the terms and conditions set forth in the
Agreement, is in all respects fair, reasonable, adequate, and in the best interest of the Settlement
Class Members, especially in light of the benefits to the Settlement Class Members; the strength
of the Parties’ cases and defenses; the complexity, expense, and probable duration of further
litigation; and the risk and delay inherent in possible appeals; and the risk of collecting any
judgment obtained on behalf of the Settlement Class.

4, Pursuant to Federal Rule of Civil Procedure 23(b)(3), this Court hereby certifies the
following Rule 23(b)(3) Settlement Class solely for purposes of effectuating this Settlement:

All individuals in the United States who disputed a lien or judgment record with

LNRS (either directly or indirectly via a reseller) from July 24, 2016, through
December 31, 2021. Excluded are counsel of record (and their respective law firms)
Case 3:20-cv-00903-JAG Document 91 Filed 07/27/22 Page 3 of 5 PagelD# 1550

for any of the Parties, employees of Defendants, and any judge presiding over this
litigation and their staff, and all members of their immediate family.

5. For purposes of this Settlement only, this Court finds and concludes that: (a) the
Settlement Class is so numerous that joinder of all individuals in the Settlement Class is
impracticable; (b) there are questions of law and fact common to the Settlement Class which
predominate over any individual questions; (c) Plaintiffs’ claims are typical of the claims of the
Settlement Class; (d) Plaintiffs and Class Counsel have fairly and adequately represented and
protected the interests of all individuals in the Settlement Class; (e) classwide issues predominate
over any individualized issues; and (f) a class action is superior to any other method of litigating
these claims.

6. Notice to the Settlement Class was provided pursuant to the Court’s Preliminary
Approval Order. The form and method for notifying the class members of the settlement and its
terms and conditions were in conformity with this Court’s Preliminary Approval Order, satisfied
the requirements of Fed. R. Civ. P. 23(c)(2)(A) and due process, and was appropriate under the
circumstances of the case.

7. Only one objection to the substantive fairness of the Rule 23(b)(3) Settlement was
timely filed by any Class Member. The lone objection was asserted by Matt Crowe. The matter
was called and neither Mr. Crowe nor any person on his behalf appeared. The Court considered
and overruled Mr. Crowe’s objection consistent with the Court’s finding in this Order that the
settlement is fair, reasonable, adequate, and in the best interest of the Settlement Class Members.

8. Five Class Members opted out of the Settlement: Loretta Young, Semone Harvey,
Mark Anzivino, Princess Obienu, and Michael Young.

9. The Court hereby DISMISSES WITH PREJUDICE on the merits, without costs or

attorneys’ fees (except as otherwise provided in the Agreement and herein), the Rule 23(b)(3)
Case 3:20-cv-00903-JAG Document 91 Filed 07/27/22 Page 4 of 5 PagelD# 1551

Settlement Class Released Claims against Defendants (subject to retention of jurisdiction to
enforce the Agreement).

10. Each Class Representative, each Plaintiff, and each Rule 23(b)(3) Settlement Class
Member, and their respective spouses, heirs, executors, administrators, representatives, agents,
attorneys, partners, successors, predecessors, assigns and all persons acting or purporting to act on
their behalf acknowledge full satisfaction of, and shall be conclusively deemed to have fully,
finally and forever settled, released and discharged all of the Released Parties, of and from all
claims arising before the Effective date whether known or unknown, matured or unmatured,
foreseen or unforeseen, suspected or unsuspected, accrued or unaccrued which they ever had or
now has, including but not limited to, all claims resulting from, arising out of, or in any way
connected to the Litigation or its underlying subject matter.

11. Settlement Class Members, and any person or entity allegedly acting on behalf of
Settlement Class Members, either directly, representatively or in any other capacity, are enjoined
from commencing or prosecuting against any and all of the Released Parties any action or
proceeding in any court or tribunal asserting any of the Released Claims.

12. _ Plaintiffs and Class Counsel have moved for a service award for the Class
Representatives in the amount of $10,000 each for Rule 23(b)(3) Plaintiffs Christopher Peterson
and Eduardo Cantizzano. The Court hereby GRANTS the motion and AWARDS these amounts
as requested, which shall be paid in accordance with the Agreement.

13. Plaintiffs and Class Counsel have moved for an award of attorneys’ fees (including
costs and expenses) in the amount of $7,095,000 dollars to be paid from the common fund created
for the benefit of Rule 23(b)(3) Settlement Class Members. The Court hereby GRANTS the

motion and AWARDS attorneys’ fees in the amount of $7,095,000, which shall be paid in
Case 3:20-cv-00903-JAG Document 91 Filed 07/27/22 Page 5 of 5 PagelD# 1552

accordance with the Agreement.

14. Without affecting the finality of this Final Approval Order in any way, this Court
retains continuing jurisdiction of all matters relating to the modification, interpretation,
administration, implementation, effectuation, and enforcement of this Agreement and the
Settlement. Class Counsel are to continue in their role to oversee all aspects of the Settlement
defined in the Agreement. Upon notice to Class Counsel, Defendants may seek from this Court,
pursuant to 28 U.S.C. § 1651(a) and Section 8.4 of the Agreement, such further orders or process
as may be necessary to prevent or forestall the assertion of any of the Released Claims in any other
forum, or as may be necessary to protect and effectuate the Settlement and this Final Approval
Order.

15. If an appeal, writ proceeding, or other challenge is filed as to this Final Approval
Order, and if thereafter the Final Approval Order is not ultimately upheld, all orders entered,
stipulations made and releases delivered in connection herewith, or in the Agreement or in
connection therewith, shall be null and void to the extent provided by and in accordance with the
Agreement.

Let the Clerk send a copy of this Final Approval Order to all counsel of record.

IT IS SO ORDERED.

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John A. Gibney, Jr. tal .
Senior United Stateé District Judge
John A. Gibney, Jr.
Senior United States District Judge

Richmond, Virginia

July 2) , 2022

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